Case 1:05-cv-01163-.]DT-STA Document 3 Filed 06/21/05 Page 1 of 2 Page|D 1

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

ANNA HILL, Individually and as )
Personal Representative of the Estate of ) 1 _ 0 5 __ 1 .l 6 3 ... T m
CHARLOTTE THOMPSON, deceased, ) Case No.
Plaimiff, ) Judg@ Ub OY]
)
VS. )
)
GREYHOUND LINES, INC., et al. ) ,;;, §§ ;;g
) '<_-:- §
Defendants. ) r`:;~ :_-_,5;,-
ORDER GRANTING COUNSELS’ MOTION r`:: ;._:J
TO PARTICIPATE IN A PARTICULAR CASE § 55

 

 

Upon good cause shown, IT IS HEREBY ORDERED that, pursuant to Local Rule
83.1, the motions of Kenneth L. Lawson, Tarnara R. Parker and Sandra Jt Finucane, to

be permitted to participate as counsel for the Plaintiff in the above-captioned case, are

hereby GRANTED.

Date: §“O <(?/WLWS/ d M

Unl States District Court Judge

Th?s document entered on the docket heat in compliance
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DISTRICT C URT - WESTENR D"ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 1:05-CV-01163 Was distributed by faX, mail, or direct printing on
June 21 , 2005 to the parties listed.

 

 

Kenneth L. LaWson

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Honorable J ames Todd
US DISTRICT COURT

